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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                        SOUTHERN DIVISION at PIKEVILLE

  AMY CASHMER,                          )
                                        )
       Plaintiff,                       )         Civil No. 7:21-13-JMH
                                        )
  V.                                    )
                                        )
  KILOLO KIJAKAZI,                      )                JUDGMENT
  ACTING COMMISSIONER                   )
  OF SOCIAL SECURITY,                   )
                                        )
       Defendant.                       )

                              **   **   **   **   **

       In compliance with Rule 58 of the Federal Rules of Civil

Procedure, and in accordance with Shalala v. Schaefer, 509 U.S.

292, 296-302 (1993),

       IT IS ORDERED AND ADJUDGED that:

    (1)      the agency’s decision is REVERSED and this matter is

             REMANDED pursuant to sentence four of 42 U.S.C. § 405(g);

       (2)   Plaintiff’s motion for summary judgment (13) is DENIED

             as moot;

       (3)   Defendant’s motion to remand (17) is GRANTED; and

       (4)   this matter is DISMISSED and STRICKEN from the Court’s

             active docket.

       This the 2nd day of December, 2021.
